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 3
   Attorney for KENNETH HERNANDEZ
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 6                               IN THE UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,                            CASE NO. 1:11-CR-0000188
 9
                                   Plaintiff,             STIPULATION AND ORDER AMENDING
10                                                        BRIEFING SCHEDULE ON DEFENDANT’S
                            v.                            MOTION FOR REDUCTION IN SENTENCE AND
11                                                        COMPASSIONATE RELEASE
     KENNETH HERNANDEZ,
12
                                  Defendant.
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                                                      STIPULATION
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            1.      Defendant Kenneth Hernandez filed a pro se motion for reduction in sentence and
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     compassionate release on July 6, 2020. Docket No. 166. On July 9, 2020, the Court to the Federal
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     Defender’s Office and directed the parties to confer by July 14 in an attempt to stipulate to a briefing
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     schedule. Docket No. 167. On July 14, 2020, the Court appointed counsel for the defendant. Docket
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     No. 168. On July 21, 2020. the Court ordered a briefing schedule. Docket No. 170. The Court ordered
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     an amended briefing schedule. Docket No. 172. Because defense counsel is still obtaining medical
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     records from civilian hospitals, a further amended briefing schedule is necessary.
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            2.      The parties conferred and agree to the following second amended briefing schedule:
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                    a. November 2, 2020: defendant’s supplemental briefing;
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                    b. November 16, 2020: government’s response;
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                    c. November 23,2020: defendant’s reply
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            3. Counsel for the government agrees with this request.
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 1
          IT IS SO STIPULATED.
 2

 3   Dated: September 23, 2020               /s/ Michael Long
                                             MICHAEL LONG
 4                                           Counsel for Defendant Kenneth Hernandez
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 6                                           McGREGOR W. SCOTT
                                             United States Attorney
 7
     Dated: September 23, 2020
 8                                           /s/ Antonio Pataca
                                             ANTONIO PATACA
 9                                           Assistant United States Attorney

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 1                                         FINDINGS AND ORDER

 2         Based upon the stipulation and representations of the parties, the Court adopts the proposed

 3 revised briefing schedule as follows:

 4                 a)     The defendant’s supplemental briefing to defendant’s motion be due on

 5 November 2, 2020.

 6                 b)     The government’s opposition or response to defendant’s motion and supplement

 7 be due on November 16, 2020; and

 8                 b)     The defense reply, if any, will be due on November 23, 2020.

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10 IT IS SO ORDERED.

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        Dated:    September 23, 2020
12                                                   UNITED STATES DISTRICT JUDGE
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